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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


United States of America,                              Criminal No. 15-147 (DWF/FLN)

                    Plaintiff,

v.                                                     ORDER ADOPTING REPORT
                                                        AND RECOMMENDATION
Edgar Edward Gonzalez (7),

                    Defendant.


                                  INTRODUCTION

      This matter comes before the Court on the objections of Defendant Edgar Edward

Gonzalez (“Gonzalez”) to the January 19, 2016 Report and Recommendation of

Magistrate Judge Franklin L. Noel (“R & R”) (Doc. No. 191.) Magistrate Judge Noel

considered Gonzalez’s motion to suppress evidence related to searches of: (1) a Jeep

Liberty; (2) a Honda Odyssey; (3) a laptop computer; (4) a residence on Humboldt

Avenue North in Minneapolis; and (5) a Facebook account. (Doc. No. 146.) After

briefing and a hearing, Magistrate Judge Noel recommended that the Court deny

Gonzalez’s motion. (Doc. No. 191.) Gonzalez filed objections to the R & R (Doc.

No. 193), and the Government filed a response to the objections (Doc. No. 219).

      The Court has conducted a de novo review of the record, including a review of the

arguments and submissions of counsel, pursuant to 28 U.S.C. § 636(b)(1) and Local

Rule 72.2(b). For the reasons set forth below and those contained in the R & R, the Court
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overrules Gonzalez’s objections to the R & R, adopts the R & R, and denies Gonzalez’s

motion to suppress.

                                     BACKGROUND

       The Court incorporates by reference the facts as set forth in the R & R. In short,

this case involves an alleged drug trafficking operation. On March 24, 2015, an

undercover law enforcement officer participated in a controlled drug buy that involved a

Jeep Liberty registered in Gonzalez’s name. Subsequently, the FBI obtained a warrant to

monitor the Liberty’s location via GPS tracker. In early April 2015, the FBI observed,

through GPS data, that the Liberty traveled to Arizona. When the vehicle began its return

trip to Minnesota, the FBI instructed the Minnesota State Patrol to stop the vehicle if the

vehicle committed a traffic violation. On April 20, 2015, Officer Michael Flanagan

stopped the Liberty in Minnesota after the Liberty’s trailer crossed over the lane stripe.

After issuing a citation to the driver, Officer Flanagan asked the driver and passenger if

he could search the vehicle. Both agreed.

       On the same day, after Officer Flanagan stopped the Jeep Liberty, law

enforcement observed a Honda Odyssey that law enforcement believed was traveling

with the Liberty. After determining that the Odyssey was traveling at 75 miles per hour

in a 70-miles-per-hour zone, Trooper Eric Labere stopped the Odyssey. Trooper Labere

issued a warning to the Odyssey’s driver and then asked the driver if he could ask some

additional questions. She agreed. Trooper Labere also asked the driver and passenger if

he could search the vehicle, and both agreed.




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       For each vehicle, after the driver and passenger gave consent, Officer Flanagan

initiated a canine sniff and performed an initial search of the vehicle’s interior. Based on

these searches, law enforcement obtained warrants to conduct more extensive searches of

the Liberty and the Odyssey, and these searches revealed, among other things, a large

quantity of methamphetamine. Gonzalez was not present for the traffic stop or

subsequent searches of either vehicle.

                                      DISCUSSION

       In making his objections, Gonzalez relies on the Supreme Court’s recent decision

in Rodriguez v. United States, 135 S. Ct. 1609 (2015), arguing that Rodriguez requires

this Court to suppress evidence obtained from the searches and seizures of the Liberty

and the Odyssey. (Doc. No. 193 at 1.) Rodriguez holds that “a police stop exceeding the

time needed to handle the matter for which the stop was made violates the Constitution’s

shield against unreasonable seizures.” 135 S. Ct. at 1612. It expressly notes, however,

that reasonable suspicion of criminal activity may justify detention beyond completion of

a traffic infraction investigation. Id. at 1615, 1616-17. Further, under the Eighth

Circuit’s decision in United States v. Munoz, 590 F.3d 916, 921 (2010)—which

Rodriguez did not disturb—once a traffic stop becomes consensual, it is no longer a

seizure, and an officer may investigate matters unrelated to the traffic stop. Thus,

contrary to Gonzalez’s contention, Rodriguez does not mandate a “bright new time-line”

for traffic stops without taking reasonable suspicion or consent into account. (See Doc.

No. 193 at 5.)




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       Here, as Magistrate Judge Noel pointed out, the occupants of the Jeep and the

Odyssey consented to searches of each vehicle, even though Officer Flanagan and

Trooper Labere had completed all tasks related to each vehicle’s traffic violation. Once

the occupants gave their consent, the traffic stops were no longer seizures, so the Fourth

Amendment did not prohibit the officers from prolonging the stops to investigate other

matters—namely, possible drug crimes. See Munoz, 590 F.3d at 921. As such, the

searches and seizures of the Liberty and the Odyssey did not violate the Fourth

Amendment under Rodriguez.

       In addition, the Court finds no Fourth Amendment violation even though it

acknowledges Gonzalez’s frustration with the law enforcement tactics employed to stop

and search the Liberty and the Odyssey. This is only one of multiple cases the Court has

seen in which law enforcement officials stop a vehicle—based on a minor traffic

violation—as a means of investigating a drug crime. Given that most drivers commit

minor traffic violations nearly every time they drive their vehicles, the reality is that

officers may stop almost anyone they might suspect for any reason. The Court

recognizes that well-established law holds that these stops do not violate the Constitution.

Whren v. United States, 517 U.S. 806, 813 (1996); United States v. Frasher, 632 F.3d

450, 453-54 (8th Cir. 2011). Still, the Court believes that tactics involving more

transparency and less opportunity for arbitrary stops would increase public confidence in

both law enforcement and criminal justice.




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                                        ORDER

      Based on the foregoing, and all the files, records, and proceedings herein, IT IS

HEREBY ORDERED that:

      1.     Defendant Edgar Edward Gonzalez’s objections (Doc. No. [193]) to

Magistrate Judge Franklin L. Noel’s Report and Recommendation are OVERRULED.

      2.     Magistrate Judge Franklin L. Noel’s Report and Recommendation (Doc.

No. [191]) is ADOPTED.

      3.     Defendant Edgar Edward Gonalez’s motion to suppress evidence (Doc.

No. [146]) is DENIED.


Dated: February 24, 2016                 s/Donovan W. Frank
                                         DONOVAN W. FRANK
                                         United States District Judge




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